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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )         No. 5:18-CR-81-REW-MAS
                                                  )
 v.                                               )
                                                  )                    ORDER
 ALEXANDRU ION,                                   )
                                                  )
       Defendant.                                 )
                                                  )
                                                  )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 361 (Minute Entry), Judge Stinnett

recommended that the undersigned accept Defendant Ion’s guilty plea and adjudge him guilty of

Count 1 of the Superseding Indictment. See DE 379 (Recommendation); see also DE 363 (Plea

Agreement); DE 249 (Superseding Indictment) at ¶¶ 7–29. Judge Stinnett expressly informed

Defendant of his right to object to the recommendation and to secure de novo review from the

undersigned. See DE 379 at 2–3. The established, 3-day objection deadline has passed, and no

party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”

filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).
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       The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

       1. The Court ADOPTS DE 379, ACCEPTS Ion’s guilty plea, and ADJUDGES him

          guilty of Count 1 of the Superseding Indictment (DE 249 at ¶¶ 7–29); and

       2. The Court will issue a separate sentencing order.1

       This the 16th day of October, 2019.




1
 At the hearing, Judge Stinnett remanded Ion to custody. See DE 361. The Court, thus, sees no
need to further address detention, at this time.
